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                                                   May 20, 2021
VIA ECF:
Hon. Douglas E. Alpert, U.S.M.J.
United States District Court for New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

       RE:     IMFK Realth II, LLC v. Atlantic Propery Development, LLC, et al.
               Docket: 3:20-cv-6989-MAS-DEA

Dear Judge Alpert:

         This firm represents the Defendant, Felix Nihamin, in the above referenced action. This
letter is in response to Plaintiff’s May 17, 2021 correspondence regarding discovery issues and
requesting the striking of Defendant’s answer.

       Defendant has provided Plaintiff’s counsel with responses to outstanding discovery
requests. Thank you for your attention to this correspondence and remain available to provide
additional information if necessary.


                                                   Respectfully,

                                                   /s/ Mark Matri, Esq.

cc: Karl Geercken, Esq.
